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                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF MICHIGAN

   In The Matter of:                                           Chapter 7
                                                               21-01917-JTG
   Amanda Lyn Sharpe fka Amanda Lyn Montgomery                 Judge Gregg
   Debtor(s)
   ___________________________________/

         ORDER GRANTING RELIEF FROM AUTOMATIC STAY & WAIVING THE
        PROVISIONS OF F.R.B.P.4001(a)(3) AS TO TOWNE MORTGAGE COMPANY

          This matter having come before this Court on the Motion of Towne Mortgage Company
   (“Creditor”), by and through its attorneys, Schneiderman & Sherman P.C., for relief from the
   Automatic Stay; all parties to said Motion having been served with a copy of Creditor’s Motion
   and proposed Order:

           IT IS HEREBY ORDERED that the Automatic Stay is terminated as to Creditor, its
   successors or assigns, as to the property located at 607 Maple St., Three Rivers, MI 49093, for
   the reasons set forth in Creditor’s Motion; that F.R.B.P.4001(a)(3), is waived;



                                         END OF ORDER

   Prepared by:
   Michael P. Hogan (P63074)
   Schneiderman & Sherman, P.C.
   23938 Research Drive, Suite 300
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Signed: September 29, 2021
